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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:15-CR-3114

vs.
                                             MEMORANDUM AND ORDER
YULIO CERVINO-HERNANDEZ and
ALEXANDER CASTELLANO-
BENITEZ,

                  Defendants.

       This matter is before the Court on the Magistrate Judge's Findings and
Recommendation (filing 69) recommending that the Court deny the
defendants' respective motions to suppress (filings 47 and 57). Neither
defendant has objected to the Magistrate Judge's recommendation.
       Title 28 U.S.C. § 636(b)(1) provides for de novo review of a Magistrate
Judge's findings or recommendations only when a party objects to them.
Peretz v. United States, 501 U.S. 923 (1991). Failure to object to a finding of
fact in a Magistrate Judge's recommendation may be construed as a waiver of
the right to object from the district court's order adopting the
recommendation of the finding of fact. NECrimR 59.2(e). And the failure to
file an objection eliminates not only the need for de novo review, but any
review by the Court. Thomas v. Arn, 474 U.S. 140 (1985); Leonard v. Dorsey
& Whitney LLP, 553 F.3d 609 (8th Cir. 2009); see also United States v. Meyer,
439 F.3d 855, 858-59 (8th Cir. 2006). Accordingly, the Court will adopt the
Magistrate Judge's recommendation that the defendants' motions to suppress
be denied, and any objection is deemed waived.

      IT IS ORDERED:

      1.    The Magistrate Judge's Findings and Recommendation (filing 69)
            are adopted.

      2.    The defendant Yulio Cervino-Hernandez's motion to suppress
            (filing 47) is denied.
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    3.    The defendant Alexander Castellano-Benitez's              motion    to
          suppress (filing 57) is denied..

    Dated this 18th day of May, 2016.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge




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